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Oo DA NH nH BP W NH

NO NO KD KN DRO DN DRO et
Nn nO BP WO NYO KF OD OO MB IT DB nH BP WO YN KK CO

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CALDWELL LESLIE & PROCTOR, PC

LINDA M. BURROW, State Bar No. 194668

burrow@caldwell-leslie.com

HEATHE
earson@ealdwell leslie com

1000 Wilshire Boulevard, Suite 600

Los Angeles, California 90017-2463

Telephone: 213) 629-9040

Facsimile: (213) 629-9022

Attorneys for Defendants
UMG RECORDINGS, INC. and
INTERSCOPE RECORDS

PEARSON, State Bar No. 235167

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

EBONY LATRICE BATTS, an
individual a/k/a Phoenix Phenom; and
MANFRED MORR, an individual,

Plaintiff,

V.

WILLIAM ADAMS, JR., STACY
FERGUSON; ALLAN PINEDA; and
JAIME GOMEZ, all individuall jand
collectively as the music gro UD es

Black Eyed Peas; JAIME SON
a/k/a Post Name ‘Life: UMG
RECORDINGS, INC: INTERSCOPE
RECORDS; EMI APRIL MUSIC,
INC; HEADPHONE JUNKIE
PUBLISHING, LLC; WILL.LAM.
MUSIC, LLC; TEEPNEY MUSIC,
INC.; TAB MAGNETIC
PUBLISHING; and CHERRY RIVER
MUSIC CO.,

Defendants.

 

 

Case No. SACV 10-8123 JEW (RZx)

JOINDER TO OPPOSITIONS AND
OPPOSITION BY DEFENDANTS
UMG RECORDINGS, INC. AND
INTERSCOPE RECORDS TO
MOTION FOR PRELIMINARY
INJUNCTION; DECLARATIONS
OF TROY MARSHALL, TOM
ROWLAND, IKE YOUSSEF AND
NEIL NAGANO; REQUEST FOR
JUDICIAL NOTICE

February 7, 2011
1:30 p.m.

16

None Set

Hearing Date:
Time:
Courtroom

Trial Date:

 

 

 

JOINDER TO OPPOSITION AND

OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION

 
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Nn FB WN YK ODO Wn Dn HR W NPY YK OD

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VII.

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OPPOSITION TO MOTION FOR PRELIMINARY Y INJUNCTION

 
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N On FP WO NYO KK CO OO WN DN HBR WW NYO KF OS

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JOINDER TO OPPOSITION AND
OPPOSITION TO MOTION FOR PRELIMINARY Y INJUNCTION

 
Case

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Oo po NO NY NY WN NO Ke HF KF HF FPF ESF Re RR RR
N A BW NY KF DT ODO WnAN HD UH HL WD YN | OC

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I. INTRODUCTION
Defendants UMG Recordings, Inc. and Interscope Records (collectively,
“UMG”) hereby oppose the Motion for a Preliminary Injunction filed by Plaintiffs
Ebony Latrice Batts and Manfred Mohr (“Plaintiffs”). Instead of repeating the
arguments and evidence presented by other Defendants, UMG hereby joins in their
Oppositions. UMG firmly agrees with its co-Defendants that Plaintiffs have failed
to establish that they are likely to prevail on the merits of their claim, which alone is
reason enough to deny this motion for a Preliminary Injunction. See Gilman v.
Schwarzenegger, No. 10-15471, 2010 WL 4925439, at *3 (9th Cir. Dec. 6, 2010)
(providing that “[a] plaintiff seeking a preliminary injunction must establish that he
is likely to succeed on the merits, that he is likely to suffer irreparable harm in the
absence of preliminary relief, that the balance of equities tips in his favor, and that
an injunction is in the public interest”) (emphasis added).
UMG files this brief to support the other Defendants’ Oppositions, and
emphasize that this Motion should be denied for at least five reasons:
e First, in addition to the reasons why Plaintiffs cannot succeed on the
merits discussed by UMG’s co-Defendants, the evidence offered by
Plaintiffs does not raise an inference that the Black Eyed Peas had
access to Plaintiffs’ work, and thus Plaintiffs cannot succeed on the
merits of the copyright claim.
° Second, Plaintiffs delayed nearly two years from the release of the
alleged infringing work, the Black Eyed Peas’ “Boom Boom Pow,”
(the “Song”) to bring this motion—an unreasonably long period that
negates any finding of irreparable harm.
e Third, Plaintiffs’ Motion makes clear that any harm they may have

suffered is not irreparable. Rather, Plaintiffs seek through their lawsuit

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JOINDER TO OPPOSITION AND
OPPOSITION TO MOTION FOR PRELIMINARY Y INJUNCTION

 

 
Case

So A NI Dn HR WW PO

DB BR DN BR KN KDR Dw ea ee
N nA BP WO NO -§& OD O DW wny HD A HBR WO NBO KH CO

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a share of the “millions of dollars” they claim Defendants have
received from the distribution of the Song.

e Fourth, when balancing the harms caused by the injunction, this Court
must account for the substantial, and in large measure incalculable,
costs that UMG would incur in complying with their proposed
injunction, which far outweigh any possible harm Plaintiffs may incur
during this litigation.

e Finally, Plaintiffs fail to offer any evidence of any “public interest,”
that would be served should an injunction issue in this case.

In addition, contrary to Plaintiffs’ apparent belief that they are entitled to the
benefit of an injunction without satisfying their burden to post a bond (a position for
which there is no support), any injunction in this case must be secured by an
immense bond, and even that bond could not protect against the intangible harm of
loss of good will and reputation that the injunction would cause UMG.

“* A preliminary injunction is an extraordinary and drastic remedy; it is never
awarded as of right.’” Gilman, 2010 WL 4925439, at *3 (quoting Munafv. Geren,
553 U.S. 674, 689-90 (2008) (internal quotation marks omitted)). Plaintiffs have
failed to meet their burden to satisfy any of the factors for injunctive relief.
Accordingly, for the reasons set forth below, and for the reasons described in the
Oppositions filed by UMG’s co-Defendants, Plaintiffs’ Motion should be denied.
Il. PLAINTIFFS CANNOT ESTABLISH THAT THE BLACK EYED

PEAS HAD ACCESS TO THEIR WORK

At the preliminary injunction stage, Plaintiffs cannot rely on mere allegations
of access, but must come forward with evidence of either “actual viewing by the
defendant of the plaintiff's work, or the reasonable opportunity by the defendant to
read, hear, or view the plaintiff's work.” Severin Montres Ltd. v. Yidah Watch Co.,
997 F. Supp. 1262, 1265-66 (C.D. Cal. 1997); see also Oracle USA v. Graphnet,

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JOINDER TO OPPOSITION AND
OPPOSITION TO MOTION FOR PRELIMINARY Y INJUNCTION

 
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Oo wma IHD WA FP W NY

NO NO DO HN KN PDK eee ee
NN OA BW NY KH OD OO Dns DB A BP W PO KY CO

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Inc., No. C06-05351, 2007 WL 485959, at *4 (N.D. Cal. Feb. 12, 2007) (denying
motion for preliminary injunction in the absence of “competent evidence”
supporting request for injunctive relief). “A bare possibility of access is insufficient
to sustain a copyright infringement claim.” Seals-McClellan v. Dreamworks, Inc.,
120 Fed. Appx. 3, 4 (9th Cir. 2004) (citing Jason v. Fonda, 698 F.2d 966, 967 (9th
Cir. 1982)).

Here, Plaintiffs attempt to show access through evidence that (1) a third-party
sent Interscope President Jimmy Jovine “an e-blast flyer informing its recipients of
‘Boom Dynamite’”; and (2) “Mohr submitted ‘Boom Dynamite’ to Troy Marshall, a
Vice-President at Interscope, based on Marshall’s interest in one of Plaintiffs’ other
songs. See Mtn. at 15. As described below, neither of these scenarios constitute a
chain of access between the Plaintiffs and the Black Eyed Peas, who created the
alleged infringing work, which fatally undermines Plaintiffs’ infringement claim.

A, There is No Evidence Any “E-Blast” Was Ever Sent to Interscope,

and Even if it Was, the “Blast” is not Evidence of Access

While Plaintiffs point to the purported “e-blast” as evidence of access, it is
well-established that such unsolicited submissions do not establish access by the
recipient. See Meta-Film Assocs. v. MCA, Inc., 586 F. Supp. 1346, 1357-58 (C.D.
Cal. 1984) (rejecting the “bare corporate receipt” doctrine). This is particularly true
where, as in this case, Plaintiffs offer no competent evidence that the “email blast”
was ever sent. See Jorgensen v. Epic/Sony Records, 351 F.3d 46, 52 (2d Cir. 2003)
(finding no access where the plaintiff supplied no “reasonable documentation” that
the work was actually sent). Instead, Mohr merely states in his declaration that
someone else sent the “blast” (although he does not say how he knows this is the
case) and the exhibit attached to Mohr’s declaration shows no indicia of ever being
sent to anyone, let alone to Iovine. See Declaration of Manfred Mohr (“Mohr

Decl.”) (Dkt. No. 61), § 11, Exh. D. Mohr’s hearsay statements are not evidence

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JOINDER TO OPPOSITION AND
OPPOSITION TO MOTION FOR PRELIMINARY Y INJUNCTION

 

 

 
Case 4

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that the “blast” was ever sent to Iovine and thus fail to establish even the first link in
the chain of access. See Jorgensen, 351 F.3d at 52 (citing Dimmie v. Carey, 88 F.
Supp. 2d 142, 146 (S.D.N.Y. 2000)) (rejecting plaintiff's claim that the mailing of
tapes to a corporation could “be equated with access” where there was no evidence
that the tapes were ever received).

Even if Plaintiffs could establish that the “blast” was in fact sent to Iovine,
they still fail to offer any support for their allegation that Iovine or anyone else at
Interscope forwarded “Boom Dynamite” to the Black Eyed Peas, relying instead on
the mere fact that Iovine is the president of the Black Eyed Peas’ record label,
Interscope Records. An “inference of access”, however, “requires more than a mere
allegation that someone known to the defendant possessed the work in question.”
Herzog v. Castle Rock Entertainment, 193 F.3d 1241, 1252 (11th Cir. 1999)
(internal quotation marks omitted). Iovine’s position at Interscope does not, by
itself, constitute evidence that Iovine in fact passed Plaintiffs’ work on to the Black
Eyed Peas, see Herzog, 193 F.3d at 1251-2 (providing that “it must be reasonably
possible that the paths of the infringer and infringed work crossed”) (quoting Towler
v. Sayles, 76 F.3d 579, 582 (4th Cir. 1996)), and Plaintiffs offer no evidence that

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Iovine ever gave anything to the Black Eyed Peas, let alone “Boom Dynamite.

 

' Plaintiffs’ half-hearted assertion that access can be inferred by the fact that “Boom
Dynamite” was distributed through a UMG affiliate in France 1s similarly meritless,
as Plaintiffs fail to offer any explanation for how the French distribution of
Plaintiffs’ song gave rise to access by the Black Eyed Peas. See Towler, 76 F.3d at
583 (rejecting claim of access based upon a “tortious chain of hypothetical
iransmittals’) (citation omitted). In fact, the UMG Defendants would have no
reason to even be aware of any sound recordings licensed by UMG France, and the
UMG Defendants have no record of any intercompany license agreement relating to
“Boom Dynamite.” See Declaration of Neil Nagano (“Nagano ecl.”), 99] 5, 6.

4.
JOINDER TO OPPOSITION AND
OPPOSITION TO MOTION FOR PRELIMINARY Y INJUNCTION

 
Case Z

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B. The Evidence is Undisputed that Marshall Never Passed “Boom
Dynamite” On to the Black Eyed Peas

Neither can Plaintiffs rely on their purported submission of “Boom
Dynamite,” and “several more songs” to Interscope Vice-President of Rap
Promotion Troy Marshall. See Mohr Decl., § 10; see also Declaration of Troy
Marshall (“Marshall Decl.”), 95. Plaintiffs offer no evidence whatsoever that
Marshall—whose job responsibilities do not include providing creative input to
recording artists, see Marshall Decl.,  4—was ever in a position to pass “Boom
Dynamite” on to the Black Eyed Peas, let alone that he actually gave them the work.
Indeed, Plaintiffs do not even allege that Marshall ever gave “Boom Dynamite” to
the Black Eyed Peas or anyone else and thus do not allege that Mohr was, in fact, a
link in the chain of access. See Mohr Decl., 10. In any event, Marshall states
unequivocally in his declaration that he does not recall ever receiving music from
Mohr, does not recall listening to “Boom Dynamite” and, even if he had, he would
not have passed “Boom Dynamite” on to anyone, let alone a member of the Black
Eyed Peas. See Marshall Decl., § 7.’

Plaintiffs have failed to offer any evidence—let alone credible evidence—that
“Boom Dynamite” ever crossed the Black Eyed Peas’ path. See Herzog, 193 F.3d at
1252. The absence of such evidence is fatal to Plaintiffs’ copyright infringement

claim, and thus to their effort to seek preliminary relief.

 

* As a promotions executive, Marshall does not have creative input into the artists’
work. Rather, he is charged with promoting albums after they are completed. See
Marshall Decl., 43. Accordingly, even if he had wanted to provide “Boom
Dynamite” to the Black Eyed Peas, he would have passed the music on to an A&R
Executive, not to the Black Eyed Peas directly. See id., 4 5.

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JOINDER TO OPPOSITION AND
OPPOSITION TO MOTION FOR PRELIMINARY Y INJUNCTION

 
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Ill. PLAINTIFFS WILL NOT SUFFER IRREPARABLE HARM

Plaintiffs’ motion should be denied for the additional reason that, as is clear
from their Motion, they would not suffer any “irreparable” harm in the absence of
an injunction. This Court cannot issue an injunction in the absence of a finding that
Plaintiffs are likely to suffer irreparable harm. See Winter v. Natural Res. Def.
Council, Inc., 555 U.S. 7, 129 S8.Ct. 365, 375-76 (2008) (discussing the Supreme
Court’s “frequently reiterated standard requir[ing] plaintiffs seeking preliminary
relief to demonstrate that irreparable injury is /ikely in the absence of an injunction”)
(emphasis in original). Plaintiffs appear to believe that they are not obligated to
supply any evidence of harm at all; instead, according to Plaintiffs, this Court may
merely presume harm from their (defective) infringement claims. See Mot at 17-18.
The law does not support this presumption, and, in any event, any presumption in
this case would be negated by Plaintiffs’ nearly two year delay in bringing this
Motion.

A. Plaintiffs are Not Entitled to a Presumption of Irreparable Harm

Despite Plaintiffs’ assertion otherwise, this Court may not merely assume
irreparable harm simply because this is a copyright infringement case. Indeed,
injunctive relief has never been automatic in a copyright infringement case. See
Abend v. MCA, Inc., 863 F.2d 1465, 1479 (9th Cir. 1988) (finding infringement but
declining to enjoin distribution of defendant’s film where the plaintiff “can be
compensated adequately for the infringement by monetary compensation”).
Moreover, the validity of any presumption of harm has been called into serious
question by the Supreme Court’s decisions in eBay Inc. v. MercExchange, L.L.C.,
547 U.S. 388 (2006), in which the Court held expressly that there can be no
presumption of irreparable harm with respect to permanent injunctions in
intellectual property cases, see id. at 394, and Winter, in which the Court rejected

the standard then in effect in the Ninth and other Circuits, pursuant to which an

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JOINDER TO OPPOSITION AND
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Case 2

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injunction could be entered based only on a “possibility” of irreparable harm where
the plaintiff demonstrated a strong likelihood of prevailing on the merits.’ See
Winter, 555 U.S. at ---, 129 S.Ct. at 375-76. Since eBay and Winter, courts in this
District and elsewhere have cast serious doubt on the validity of the presumption of
irreparable harm in assessing the need for preliminary relief. See, e.g., Metro-
Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 518 F. Supp. 2d 1197, 1212-13
(C.D. Cal. 2007) (Wilson, J.) (citing cases and observing that “a significant number”
of courts have determined that the presumption no longer applies); see also Aurora
World, Inc. v. Ty Inc., 719 F. Supp. 2d 1115, 1166-69 (C.D. Cal. 2009) (Morrow, J.)
(declining to apply presumption of irreparable harm in trademark case).*

Even if irreparable harm could be presumed in some cases, that presumption
has been rebutted here. A presumption merely “shifts the ultimate burden of
production ... onto the alleged infringer”—it does not override the evidence on the
record. See Reebok Int’l Ltd. v. J. Baker, Inc., 32 F.3d 1552, 1556 (Fed. Cir. 1994).
A presumption of irreparable harm is rebutted by delay in bringing a motion for an
injunction, or where monetary damages alone are sufficient to compensate the
plaintiff. High Tech Med. Instrumentation, Inc.v . New Image Indus., Inc., 49 F.3d
1551, 1556-57 (Fed. Cir. 1995) (applying presumption of irreparable harm, but
finding presumption rebutted based upon seventeen-month delay in bringing action

and an absence of evidence that monetary damages would be inadequate); see also

 

* Of course, as Plaintiffs have failed to establish that they are likely to prevail on the
merits at all, let alone demonstrate a strong likelihood, this standard would not have
applied in this case.

* Summit Entertainment, LLC v. Beckett Media, LLC, No. CV 09-8161, 2010 WL
147958 (C.D, Cal. Jan. 12, 2010) (Guttierez, J.), the unpublished district court case
on which Plaintiffs rely, is not to the contrary. In Summit Entertainment, the Court,
after noting case law describing this “presumption,” went on to make a factual
determination that the plaintiffhad, in fact, demonstrated that irreparable harm was
likely. See id. at *4.

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Case 2

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Protech Diamond Tools, Incorporation v. Liao, No. C 08-3684, 2009 WL 1626587,
at *6 (N.D. Cal. June 8, 2009) (acknowledging the existence of a presumption of
harm, but finding presumption rebutted where the plaintiff had waited two years
after the alleged infringement to file a complaint, and then waited another five
months to file a motion for a preliminary injunction).

As discussed below, it is clear that any presumption of harm has been negated
by Plaintiffs’ unexplained nearly two-year delay in filing this Motion, and any harm
Plaintiffs may have suffered can be easily addressed through monetary damages.

B. Plaintiffs Have Not Been Irreparably Harmed

1. Plaintiffs’ Delay In Bringing This Action Fatally Undermines
Their Claim of Harm

It is abundantly clear from Plaintiffs’ Motion that they have not suffered
irreparable harm. Plaintiffs admit that Defendants’ alleged infringement began upon
release of “Boom Boom Pow” in March of 2009, twenty-two months ago. See
Declaration of Ike Youssef (“Youssef Decl.”), § 2; see also Declaration of Ebony
Latrice Batts (“Phoenix Decl.”), § 14. Plaintiffs first filed a lawsuit alleging the
song infringed on Plaintiffs’ copyright in the U.S. District Court for the Northern
District of Illinois in January 2010, and although that Court heard multiple motions
regarding this case, Plaintiffs never sought an injunction. See Request for Judicial
Notice (“RJN”), Exh. A. The Illinois District Court dismissed the case in April of
2010, and granted Plaintiffs 21 days, until May 18, 2010, to re-file the lawsuit in an
appropriate forum. /d. Plaintiffs did not re-file within 21 days. Instead, they waited
until October 28, 2010 to file this lawsuit. See Dkt. No. 1. Even then they did not
seek a preliminary injunction, but waited almost three more months, until January
10, 2011, to file this Motion. See Dkt. No. 54.

“Plaintiff's long delay before seeking a preliminary injunction implies a lack

of urgency and irreparable harm.” Oakland Tribune, Inc. v. Chronicle Publishing

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Case 4

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Co., Inc., 762 F.2d 1374, 1377 (9th Cir. 1985). “A preliminary injunction is sought
upon the theory that there is an urgent need for speedy action to protect the
plaintiff's rights. By sleeping on its rights a plaintiff demonstrates the lack of need
for speedy action... .” Gillette Co. v. Ed Pinaud, Inc., 178 F. Supp. 618, 622
(S.D.N.Y. 1959) (denying preliminary injunction where plaintiff waited six months
after Defendant started marketing a product to request injunction for alleged
trademark infringement); see also Playboy Enters. v. Netscape Communications
Corp., 55 F. Supp. 2d 1070, 1080, 1090 (C.D. Cal. 1999) (Stotler, J.) (denying
preliminary injunction because plaintiff's five-month delay in seeking injunctive
relief demonstrated lack of any irreparable harm), aff'd, 202 F.3d 278 (9th Cir.
1999); see also High Tech Med., 49 F.3d at 1556-57 (finding seventeen-month delay
in bringing action “a substantial period of delay that militates against the issuance of
a preliminary injunction”); see also Protech Diamond Tools, 2009 WL 1626587, at
*6 (finding “delay alone . . . sufficient to undermine Plaintiffs claim of immediate,
irreparable harm”).

The absence of irreparable harm to Plaintiffs is further bolstered by Plaintiffs’
failure even to register the work until two years after they allege to have created it.
See Mohr Decl., § 4 (stating that Plaintiffs created “Boom Dynamite” in 2007, but
registered the work with the Copyright Office in 2009 — after they filed the lawsuit
in Illinois). Nevertheless, prior to registration, Plaintiffs authorized others to send
“email blasts” of “Boom Dynamite” to record companies, and to promote “Boom
Dynamite” on YouTube. See Mohr Decl., § 11. If Plaintiffs could not be bothered

to make even the most basic effort at protecting their work before it was distributed

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Case 2

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and promoted, they cannot now claim that further distribution of “Boom Boom
Pow” will harm them irreparably. °
2. Plaintiffs All But Concede Their Harm Can Be Addressed
Through Money Damages

It is axiomatic that, for an injunction to issue, the harm to be prevented must
be irreparable—in other words, not redressible through money damages alone. See,
e.g., Calmar, Inc. v. Emson Research, Inc., 838 F. Supp. 453, 455-56 (C.D. Cal.
1993) (Tevrizian, J.) (holding that plaintiff was not irreparably harmed where the
defendant was “financially sound and capable of satisfying [any] monetary damage
award”); see also Abend, 863 F.2d at 1479 (declining to enjoin further distribution
of the film Rear Window because the plaintiff could “be compensated adequately for
the infringement by monetary compensation”).

Here, after waiting almost two years since the Black Eyed Peas released
“Boom Boom Pow’, Plaintiffs now seek an injunction on the grounds that, to date,
the Defendants have reaped “millions of dollars of profit” from its exploitation.
(See Mot. at 18; see also id. at 19 (arguing that granting the preliminary injunction
would prevent the Defendants from “unjustly reaping substantial profits...”)). Even

if Plaintiffs could establish that “Boom Boom Pow” infringes their work (which, for

 

> A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004 (9th Cir, 2001), on which
Plaintiffs rely, is not to the contrary. In Napster, the Ninth Circuit held that the
activities of the Napster file-sharing service, which allowed users to download
copyrighted sound recordings for free, had an irreparable “deleterious effect on the

resent and future digital download market” for such recordings. 239 F.3d at 1017.

his case does not concern an entire market, as was the case in Napster, but a single
work, which Plaintiffs concede they have not sold. Similarly inappesite is Taylor
Corp. v. Four Seasons Greetings, LLC, 403 F.3d 958 (8th Cir. 2 >) in which the
court concluded that the plaintiffs decision not to seek monetary relief did not
preclude it from obtaining a permanent injunction following trial particularly
where, as in that case, the defendants’ use of the plaintiffs copyrigl ted greeting
cards precluded the plaintitt from making any use whatsoever of that material
thereafter. Jd. at 962, 967-68.

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JOINDER TO OPPOSITION AND
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Case 2

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all the reasons set forth in this Opposition, and the Oppositions filed by UMG’s co-
Defendants, they cannot), it is clear that what Plaintiffs’ seek is not the protection of
their work for some higher purpose, but a share of the Defendants’ profits arising
from the use of that work. Such harm can unquestionably be ameliorated with
monetary damages, and Plaintiffs are therefore not entitled to an injunction.
IV. THE BALANCE OF HARDSHIPS WEIGHS AGAINST THE

PROPOSED INJUNCTION

Plaintiffs ask this Court to enjoin Defendants from (1) distributing copies of,
and making and distributing phonorecords the musical composition “Boom Boom
Pow” (which includes the Black Eyed Peas’ album, The E.N.D.), (2) from licensing,
and (3) “contributing to or participating in and furthering any infringing acts”,
including but not limited to any public performances of the song.° Not only do
Plaintiffs fail to offer any evidence of irreparable harm, but it is clear from
Plaintiffs’ Motion that UMG would suffer disproportionally if the requested
injunction should issue.

An injunction may not issue unless the balance of harms favors the moving
party. See International Jensen, Inc. v. Metrosound U.S.A., Inc., 4 F.3d 819, 822
(9th Cir. 1993). Where, as in this case, the Plaintiffs fail to establish a likelihood of

success on the merits of a claim, they are not entitled to an injunction unless they

 

° Plaintiffs purport to ask for the Court to escrow Defendants’ revenues relating to
“Boom Boom Pow” while the injunction is in place, although such relief is not
mentioned in Plaintiffs’ Proposed Preliminary Injunction. See Mot. at 2, 22. In any
event, an escrow is a remedy usually reserved for circumstances where the
defendant has questionable financial health, for which Plaintiffs offer no evidence
here. See, e.g., Sargent v. Am. Greetings Corp., 588 F. Supp. 912, 925-26 (N.D.
Ohio. 1984) (rejecting request to have proceeds from sale of alleged infringing
works placed in escrow, where the plaintiff failed to demonstrate a likelihood of
success on the merits and where the defendant was financially healthy).

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Case 2

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can demonstrate that there are “serious questions” going to the merits and that the
balance of hardships tips sharply in their favor. Id.

The balance of harms sharply favors the denial of Plaintiffs’ Motion. “Boom
Boom Pow” is a highly-successful song, and part of Black Eyed Peas’ immensely
popular album, “The E.N.D” (the “Album”). See Youssef Decl., J 2. Should, as
Plaintiffs requests, the Defendants be required to halt its distribution overnight, it
would cost at least $900,000 dollars to have representatives and retailers pull the
album and song from store shelves. /d., 3. In addition, UMG suffer substantial
costs relating to revising the Album’s artwork, remastering the Album and
manufacturing new copies of the Album and would lose the ability to sell more than
$100,000 worth of existing, but yet undistributed, copies of the album. Jd., 4/4. In
addition, because of “Boom Boom Pow’s” vast popularity, it is likely that a
significant number of consumers would simply decline to purchase a copy of the
Album that did not include “Boom Boom Pow,” thus causing UMG to suffer further
— if unquantifiable — losses. Id., ¥ 5.

UMG would suffer even greater harm from loss of the ability to exploit the
“Boom Boom Pow” single itself, such as, for example, with individual track sales
through retailers like iTunes or through mastertones. Jd., 5. The present value of
those future sales is at least $4,000,000. Jd.

If UMG were to be required to pull the Album from the shelves (or even if it
were simply required to stop any further distribution of the Album so long as it
contains “Boom Boom Pow”) UMG would also suffer a substantial loss of goodwill
with retailers — both traditional record stores and digital retailers such as iTunes.
Id., 9§| 6. For traditional retailers, this loss of goodwill could have implications for
UMG’s ability to place other product in those stores in the future. Jd. at 6; see
also Trust Co. Bank vy. Putman Pub. Group, Inc., 5 U.S.P.Q.2d 1874, 1877 (C.D.
Cal. 1988) (Stotler, J.) (refusing to enjoin publication of book alleged to infringe

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Case Z

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“Gone with the Wind” where, among other things, an injunction would damage the
defendant’s “goodwill with wholesalers and retailers” and would “have an adverse
effect [on the defendant’s] ability to obtain shelf space at bookstores”).

UMG would be harmed even further if, as Plaintiffs suggest, it were to be
prohibited from licensing “Boom Boom Pow” for use in films, television programs,
commercials and video games (collectively, “Ancillary Exploitations”). See
Declaration of Tom Rowland (“Rowland Decl.’”), § 5. “Boom Boom Pow” has
generated at least $740,000 in license revenue from Ancillary Exploitations. Id. { 4.
UMG conservatively estimates that “Boom Boom Pow” will generate at least an
additional $375,000 in Ancillary Exploitation revenue over the next two years—
revenue that would not be directly replaced if the Court enjoined UMG from further
licensing activity. Id., 5.

These harms, balanced against the minimal harm Plaintiffs would suffer
should “Boom Boom Pow” continue to be distributed, weigh against the issuance of
an injunction. See, e.g. LucasFilm Ltd. v. Media Market Group, Ltd., 182 F. Supp.
2d 897, 901-02 (N.D. Cal. 2002) (denying motion for preliminary injunction where
the balance of hardships did not tip sharply in the plaintiffs favor); Chase-Riboud v.
Dreamworks, Inc., 987 F. Supp. 1222, 1233 (C.D. Cal. 1997) (refusing to enjoin the
release of the film “Amistad” where, although the plaintiff had raised serious
questions to the validity of the claim, the defendants had invested heavily in the

film, and release was imminent).’

 

’ Plaintiffs’ reliance on Canopy Music Inc. v. Harbor Cities Broad., Inc., 950 F.
Supp. 913 (E.D. Wis. 1997), is misplaced. The court in Canopy Music enjoined a
radio station from broadcasting recordings of compositions owned by the plaintiffs
after the plaintitis public performance license was terminated. 950 F. Supp. at 915-
16. The fact of infringement was not in dispute (indeed, the station was in
default)—the only question was whether the equities favored an injunction—and the
station was unlikely to suffer any significant harm if enjoined. /d. Here, unlike
Canopy, Plaintiffs have not established any likelihood of success on the merits, and
the harm to UMG if it were to be enjoined would be substantial.

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Case 2

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V. APRELIMINARY INJUNCTION WOULD NOT SERVE THE PUBLIC

INTEREST

Where an injunction goes beyond the parties, carrying with it a potential for
public consequences, the “public interest” becomes relevant to whether an
injunction should issue. Stormans, Inc. v. Selecky, 586 F.3d 1109, 1139 (9th Cir.
2009). Plaintiffs argue conclusorily that “[t]here is a public interest in upholding
intellectual property rights such as copyright protections,” that favors an injunction
in this case. See Mot. at 18. In each of the cases Plaintiffs cite to support their
position, however, the plaintiff had established a clear likelihood of success on the
merits—which is not present here. See Concrete Mach. Co., Inc. v. Classic Lawn
Ornaments, Inc., 843 F.2d 600, 612 (1st Cir. 1988) (“the issue of public policy
rarely is a genuine issue if the copyright owner has established a likelihood of
success”) (emphasis added)); Autoskill Inc. v. Nat’l Educ. Support Sys., Inc., 994
F.2d 1476, 1487 (10th Cir. 1993) (likelihood of success established); Apple
Computer, Inc. v. Franklin Computer Corp., 714 F.2d 1240, 1245 (3d. Cir. 1983)
(copying admitted).

Moreover, none of the cases on which Plaintiffs rely make any substantial
finding regarding the public interest, or even suggests (as Plaintiffs argue) that the
public’s interest in upholding copyright protection will always support an injunction
on behalf of a claimed copyright holder. Indeed, the Ninth Circuit and courts in this
District have denied injunctive relief where, although the plaintiff established a
likelihood of success on its infringement claim, the public’s interest in access to an
artwork outweighed the need to protect the plaintiff's rights. In Abend, for example,
the Ninth Circuit found that because “an injunction could cause public injury by
denying the public the opportunity to view a classic film” (Alfred Hitchcock's Rear
Window), monetary damages would adequately compensate the plaintiff for any

infringement. 863 F.2d at 1479. Similarly, in Trust Co. Bank, Judge Stotler denied

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Case 2

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a preliminary injunction that would have prohibited the publication a work alleged
to infringe Gone with the Wind, citing the “strong public interest favoring the
publication of books and novels.” 5 U.S.P.Q.2d at 1877. This same public interest
supports allowing the public access to a popular song like “Boom Boom Pow”, and
denial of Plaintiffs’ request for a preliminary injunction.

Neither can Plaintiffs obtain a preliminary injunction in this case as part of
their independent effort to “help maintain and further the integrity of the music
business.” Mot. at 19. The burden is on Plaintiffs to establish that they are entitled
to an injunction in this case. See Aurora World, 719 F. Supp. 2d at 1124 (providing
that the plaintiff must make a “clear showing” that he is entitled to injunctive relief).
A injunction that withdraws a hit song from public access before the Court has
determined infringement (indeed, where a finding of infringement is unlikely) does
not promote copyright protection or the integrity of the industry. Instead, it creates a
vehicle for unsuccessful artists to extort payment from defendants based on false
and unproven claims.*

VI. TO PROTECT UMG, PLAINTIFFS WOULD HAVE TO POST AN

IMMENSE BOND

Finally, any injunction issued in this case must be supported by a sizable bond.
Although Plaintiffs claim that this Court may dispense with the bond requirement
entirely, the Federal Rules require Plaintiffs to post a bond “to pay the costs and
damages sustained by any party found to have been wrongfully enjoined or
restrained.” Fed. R. Civ. P. 65(c). The purpose of the bond requirement is

threefold: (1) to discourage the moving party from seeking preliminary injunctive

 

8 Plaintiffs’ attempt to ground their injunction based upon “wides read reports” of
other infringement claims against Black Eyed Peas (des ite the absence of any
finding of infringement) is both improper and completely without basis in fact or
aw.

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Case 2

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relief to which it is not entitled; (2) to assure the court that if it errs in granting such
relief the moving party rather than the wrongfully-enjoined party will bear the cost
of the error; (3) to provide a wrongfully-enjoined party a source from which it may
readily collect damages without further litigation and without regard to the moving
party’s solvency. Nintendo of Am., Inc. v. Lewis Galoob Toys, Inc., 16 F.3d 1032,
1037 (9th Cir. 1994). “When setting the amount of security, district courts should
err on the high side. . . [A]n error in the other direction produces irreparable injury,
because the damages for an erroneous preliminary injunction cannot exceed the
amount of the bond.” Mead Johnson & Co. v. Abbott Labs., 201 F.3d 883, 888 (7th
Cir. 2000).

Plaintiffs rely on authorities wholly inapposite to this case in their attempt to
avoid their security obligations. For example, Plaintiffs cite Walczak v. EPL
Prolong, Inc., 198 F.3d 725, 733 (9th Cir. 1999), for the proposition that the Court
has discretion to order a nominal bond. (See Mot. at 21.) In Walezak, however, the
Ninth Circuit simply found that the District Court had acted within its discretion to
order a $100,000 bond where the amount was supported by the evidence. Jd. at 734.
Neither can Plaintiffs find any support in Printers Services Co. v. Bondurant, 20
U.S.P.Q.2d 1626 (C.D. Cal. 1991), in which the court required a nominal $1,000
bond based on the fact that the moving party had demonstrated a strong likelihood
of success on the evidence on its trademark claim, and there was no evidence that
the injunction would cause the non-moving party any harm. Jd. at 1633. Similarly
inapposite is Plaintiffs’ reliance on Northwestern Bell Tel. Co. v. Bedco of Minn,
Inc., 501 F. Supp. 299 (D. Minn. 1980), where the defendant used photocopies of
advertisements from the plaintiff's Yellow Pages directory in materials it used to try
to solicit advertisers for its competing directory. /d. at 300. The court enjoined the
use of these photocopies (but not defendant’s non-infringing efforts to compete with

the plaintiff) and declined to post a bond, holding that no bond was required

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“I cJonsidering the strength of the case presented by the plaintiff’ and the absence of
any substantial harm suffered by the defendant as a result of the injunction. Id. at
304.

Each of the other cases cited by Plaintiff concerns an injunction granted to
individuals or non-profit organizations that sought relief from government action on
behalf of the public interest. See, e.g., Save our Sonoran, Inc. v. Flowers, 408 F.3d
1113, 1125-26 (9th Cir. 2005) (discussing the Ninth Circuit’s “long-standing
precedent that requiring nominal bonds is perfectly proper in public interest
litigation” and affirming $50,000 bond securing injunction against construction in
Sonoran desert); Barahona-Gomez v. Reno, 167 F.3d 1228, 1237 (9th Cir. 1999)
(declining to require that class of undocumented immigrants post a bond to secure
injunction staying deportations, particularly in the absence of evidence that
injunction caused government any harm); Cal ex. rel. Van De Kamp v. Tahoe
Regional Planning Agency, 766 F.2d 1319, 1325 (9th Cir. 1985) (declining to
require bond in environmental action, “where requiring security would effectively
deny access to judicial review”); Friends of the Earth v. Brinegar, 518 F.2d 322 (9th
Cir. 1975) (reversing $4,500,000 bond imposed in injunction obtained by non-profit
against government construction, noting that unreasonably high bond requirements
would undermine statutory mechanisms for environmental enforcement); see also
Santa Rosa Mem. Hosp. v. Maxwell-Jolly, 380 Fed. Appx. 656, 658 (9th Cir. 2010)
(citing Save Our Sonoran, and finding that a challenge to Medicaid reimbursement
rates falls within the “public interest” exception to the bond requirement). None of
these cases apply here, where the Plaintiffs are not acting on behalf of the public
interest, but is merely seeking to protect their alleged rights in musical works.

Unlike the cases on which they rely, Plaintiffs here are not acting on behalf of
a non-profit agency or otherwise in the public interest—Plaintiffs merely assert their

purported rights in a musical composition they claim Defendants infringed.

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Plaintiffs have similarly failed to make out a strong case of infringement, there is
substantial evidence of the harm to UMG accruing from the injunction and Plaintiffs
have failed to offer an adequate explanation for their failure to seek timely relief. It
would therefore be an abuse of this Court’s discretion to decline to order a bond.
See Frank’s GMC Truck Center, Inc. v. General Motors Corp., 847 F.2d 100, 103
(3d Cir. 1988) (holding that “absent circumstances where there is no risk of
monetary loss to the defendant, the failure of a district court to require a successful
applicant to post a bond constitutes reversible error”). Instead, in the unlikely event
this Court is inclined to issue a preliminary injunction, it should require the
Plaintiffs to post a bond in excess of $5,000,000 to cover the harm to UMG should
the injunction be found to have been improvidently entered.
Vil. CONCLUSION

For the reasons stated herein, and in the Oppositions filed by other
Defendants, this Court should deny Plaintiffs’ Motion and decline to issue the
requested Preliminary Injunction. In the alternative, should this Court issue a
preliminary injunction, UMG respectfully requests that Plaintiffs be required to post
a bond in excess of $5,000,000.

DATED: January 18, 2011 Respectfully submitted,

CALDWELL LESLIE & PROCTOR, PC
LINDA M. BURROW
HEATHER PEARSON

By /s/
LINDA M. BURROW
Attorneys for Defendants
UMG RECORDINGS, INC. and INTERSCOPE
RECORDS

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